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 In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                   No. 19-1031V


 BILINDA ANDERSON,                                Chief Special Master Corcoran

                    Petitioner,
 v.                                               Filed: February 12, 2021

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                   Respondent.


               SCHEDULING ORDER - SPECIAL PROCESSING UNIT

      A telephonic status conference was held on February 9, 2021. Maximillian Muller
appeared on behalf of Petitioner, and Alexa Roggenkamp appeared on behalf of
Respondent.

       During the call, a brief procedural summary of this matter was given. It was noted
that Respondent communicated his interest in pursuing settlement negotiations in
October 2020. ECF No. 24. Since that time, Petitioner has filed status reports indicating
that she is gathering documentation to support a demand and investigating the existence
of a Medicaid lien. ECF Nos. 26-27. Despite this initial progress, Petitioner’s counsel
shared that he has been unable to get in contact with his client for quite some time. He
further noted that, in an attempt to determine Petitioner’s whereabouts, a private
investigator will be hired.

       Accordingly, Petitioner’s counsel shall file a status report by Monday, March 29,
2021 providing an update on locating Petitioner, obtaining Petitioner’s records concerning
the existence and amount of a Medicaid lien, and setting forth any progress made
providing a demand to Respondent. If Petitioner’s counsel is unable to locate Petitioner
by this date, a status conference will be convened to discuss next steps.

     Any questions about this order or about this case generally may be directed to
OSM staff attorney Reiko Suber at (202) 357-6378 or
Reiko_Suber@cfc.uscourts.gov.

IT IS SO ORDERED.
                                                s/Brian H. Corcoran
                                                Brian H. Corcoran
                                                Chief Special Master
